                               United States Court of Appeals
                                     For The Eighth Circuit
                                      Thomas F. Eagleton U.S. Courthouse
                                      111 South 10th Street, Room 24.329
                                    St. Louis, Missouri 63102
                                                                             VOICE (314) 244-2400
Susan E. Bindler
                                                                               FAX (314) 244-2780
 Clerk of Court
                                                                             www.ca8.uscourts.gov

                                                            March 24, 2025


Taylor Brooke Concannon Hausmann
HUSCH & BLACKWELL
Suite 1000
4801 Main Street
Kansas City, MO 64112

       RE: 25-1573 Don Gibson, et al v. BHE

Dear Counsel:

        The district court clerk has transmitted a notice of appeal and docket entries in this
matter, and we have docketed them under the caption and case number shown above. Please
include the caption and the case number on all correspondence or pleadings submitted to this
court.

      Counsel in the case must supply the clerk with an Appearance Form. Counsel may
download or fill out an Appearance Form on the "Forms" page on our web site at
www.ca8.uscourts.gov.

        The court has established a briefing schedule for the case, a copy of which will be
forwarded under separate notice of docket activity. Please refer to the schedule and note the key
filing dates. You should also review Federal Rules of Appellate Procedure 28 and 32, as well as
Eighth Circuit Rules 28A and 32A.

        Within 14 days of today's date, counsel for appellant must: (1) file a verification that any
transcripts needed for the appeal have been ordered and that satisfactory arrangements have been
made for payment, and (2) file a notice of the method of appendix preparation selected for the
case. Eighth Circuit Rule 30A contains detailed information on appendix preparation.

        The court has directed the clerk's office to monitor and enforce compliance with the
briefing schedule. Failure to file your brief will result in issuance of a show cause order and may
lead to dismissal of the appeal. Requests for extensions of time must be timely and should
establish good cause. Overlength briefs are strongly discouraged.




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       Please note the provisions of Eighth Circuit Rule 32A governing briefs and reply briefs
responding to multiple briefs.

       On June 1, 2007, the Eighth Circuit implemented the appellate version of CM/ECF.
Electronic filing is now mandatory for attorneys and voluntary for pro se litigants proceeding
without an attorney. Information about electronic filing can be found at the court's web site
www.ca8.uscourts.gov. In order to become an authorized Eighth Circuit filer, you must register
with the PACER Service Center at https://www.pacer.gov/psco/cgi-bin/cmecf/ea-regform.pl.
Questions about CM/ECF may be addressed to the Clerk's office.

        If you have any questions about the schedule or procedures for the case, please contact
our office.

                                                    Susan E. Bindler
                                                    Clerk of Court

RDB

Enclosure(s)

cc:      Alexander Aiken
         Yotam Barkai
         Steve Berman
         Matthew Robert Berry
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           District Court/Agency Case Number(s): 4:23-cv-00788-SRB




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Caption For Case Number: 25-1573

Don Gibson, individually and on behalf of all others similarly situated; Lauren Criss,
individually and on behalf of all others similarly situated; John Meiners, individually and on
behalf of all others similarly situated; Daniel Umpa

             Plaintiffs - Appellees

v.

National Association of Realtors; Compass, Inc.; eXp World Holdings, Inc.; Redfin Corporation;
Weichert Co.; United Real Estate; Douglas Elliman, Inc.

             Defendants

Berkshire Hathaway Energy Company

             Defendant - Appellant

HomeServices of America; BHH Affiliates, LLC; HSF Affiliates, LLC; The Long & Foster
Companies, Inc.; Keller Williams Realty, Inc.; Five D I, LLC, doing business as United Real
Estate; Premiere Plus Realty, Co.; Charles Rutenberg Realty - Orlando, LLC; Hanna Holdings,
Inc.; Douglas Elliman Realty, LLC; At World Properties, LLC; The Real Brokerage, Inc.; Real
Broker, LLC; Realty ONE Group, Inc.; HomeSmart International, LLC; Engel & Volkers
GmbH; Engel & Volkers Americas, Inc.; NextHome, Inc.; EXIT Realty Corp. International;
EXIT Realty Corp. USA; Windermere Real Estate Services Company, Inc.; William L Lyon &
Associates, Inc.; William Raveis Real Estate, Inc.; John L. Scott Real Estate Affiliates, Inc.; The
Keyes Company; Illustrated Properties, LLC; Parks Pilkerton Village Real Estate; Crye-Leike,
Inc.; Baird & Warner Real Estate, Inc.; Real Estate One, Inc.; The K Company Realty, LLC,
doing business as LoKation; eXp Realty, LLC; Weichert Real Estate Affiliates, Inc.; John L.
Scott, Inc.; KNIE & SHEALY

             Defendants




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